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  AO 248 (Rev. S.D. Ind. 09/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)



                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTICT OF INDIANA

   UNITED STATES OF AMERICA                                    Case No. 3:01-cr-3-RLY-CMM-1

                                                               ORDER ON MOTION FOR
   v.                                                          SENTENCE REDUCTION UNDER
                                                               18 U.S.C. § 3582(c)(1)(A)
   MARK A. LANE                                                (COMPASSIONATE RELEASE)


         Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

  in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

  in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

  IT IS ORDERED that the motion is:

  ☐ DENIED.

  ☒ DENIED WITHOUT PREJUDICE. On its face, Defendant's motion does not show that he is

  entitled to compassionate release under § 3582(c)(1)(A). Accordingly, his motion, dkt. [222], is

  denied without prejudice. If Defendant wishes to renew his motion, he may do so by completing

  and returning the attached form motion. (Motion for Sentence Reduction Pursuant to 18 U.S.C.

  § 3582(c)(1)(A) (Compassionate Release) (Pro Se Prisoner)).

  IT IS SO ORDERED.

   Dated: 9/25/2020

                                                       Hon. Richard L. Young, Judge
                                                       United States District Court
                                                       Southern District of Indiana
  Distribution:

  Mark Alan Lane, Reg. No. 06503-028
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